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Judge wrote:

"CJA counsel, Rhonda Maher, Esq. , having been appointed and 60 days enlargement having
been granted, Movant' s application is denied as moot."

9/15/20
Alvin K. Hellerstein"
